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14                              UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA

16
     IN RE: ROUNDUP PRODUCTS                              MDL No. 2741
17   LIABILITY LITIGATION                                 Case No. 3:16-md-02741-VC
18
     This document relates to:
19   Barton Penrod v. Monsanto Co.,
20   Case No. 3:16-cv-05901-JCS

21
           JOINT STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
22                        OF PLAINTIFF BARTON PENROD

23          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Barton

24   Penrod and Defendant Monsanto Company (“Monsanto”) submit this joint stipulation to dismiss

25   all of Plaintiff’s claims against Monsanto with prejudice. Each party will bear its own costs and

26   attorney’s fees.

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         JOINT STIPULATION FOR VOLUNTARY DISMISSAL OF PLAINTIFF BARTON PENROD
                                            3:16-md-02741-VC
     Case 3:16-md-02741-VC Document 2012 Filed 10/16/18 Page 2 of 2



     DATED: October 16, 2018             Respectfully submitted,
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        JOINT STIPULATION FOR VOLUNTARY DISMISSAL OF PLAINTIFF BARTON PENROD
                                  3:16-md-02741-VC
